        Case
         Case3:15-cr-00155-RNC
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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                                  Case No. 3:15-cr-155 (RNC)

               v.

ROSS SHAPIRO


                             PRETRIAL DIVERSION ORDER

       The joint motion of the United States and the defendant for a continuance pursuant to 18

U.S.C. § 3161(h), and for authorization of assistance by the United States Probation Office in

connection with a Pretrial Diversion Program in the captioned criminal case is granted for the

reasons set forth therein.

       The Clerk of the Court is ordered to transmit a copy of this Order to the United States

Probation Office.

                               12th day of ____________,
       It is so ordered, this _____          January     2022 at Hartford, Connecticut.

                                                        Digitally signed by Robert
                                            Robert N    N Chatigny

                                           ________________________________
                                            Chatigny    Date: 2022.01.12
                                                        07:16:42 -05'00'
                                           HON. ROBERT N. CHATIGNY
                                           UNITED STATES DISTRICT JUDGE
